JS 44 (Rev. 10/20)                                     CIVILDocument
                                     Case 5:22-cv-01598-JFL  COVER1SHEET
                                                                     Filed 04/25/22 Page 1 of 14
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
          Angel Nazario                                                                                          Nationwide Property and Casualty Insurance Company

    (b)   County of Residence of First Listed Plaintiff                 Franklin County                         County of Residence of First Listed Defendant              Franklin County, OH
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
           Simon & Simon, PC
           18 Campus Blvd., Suite 100
           Newtown Square, PA 19073
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                       3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government                  ✖    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
          Defendant                                 (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                     TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                               310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                           315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                     Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment              320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment                 Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                         330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                     Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                       340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)                 345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment                   Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits        ✖       350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits                  355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                           Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability           360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                                Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                             362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                                 Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                    440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                          441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment               442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                        443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability                   Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property              445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                                 Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                             446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                                 Other                       550 Civil Rights                 Actions                                                                State Statutes
                                             448 Education                   555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                          3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                  Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. § 1391(b) (1) and (2)
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Motor Vehicle Accident
VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                               JUDGE                                                               DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
04/25/2022
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                           MAG. JUDGE
                              Case 5:22-cv-01598-JFL
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    04/25/22 Page 2 of 14
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                               Angel Nazario - 62 Edgewater Dr., Chambersburg, PA 17202
Address of Plaintiff: ______________________________________________________________________________________________
                                Nationwide - One Nationwide Plaza, Columbus, OH 43215
Address of Defendant: ____________________________________________________________________________________________
                                               intersection of N Front St. & Windsor St., in Reading, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           04/25/2022
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                   201798
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                        
                                                                                            ✔    5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

                Marc Simon
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


           04/25/2022
DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                                   201798
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
              Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 3 of 14
                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
      Angel Nazario                               :                          CIVIL ACTION
                       v.                         :
                                                  :
Nationwide Property and Casualty Insurance        :
Company,                                          :                          NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   (; )


   04/25/2022                    0DUF6LPRQ                          Angel Nazario_______________
Date                               Attorney-at-law                      Attorney for
                                                 0DUF6LPRQ#JRVLPRQFRP

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
             Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 4 of 14




                        UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA

Angel Nazario                               :
62 Edgewater Dr.                            :                           #
Chambersburg, PA 17202                      :
                            Plaintiff       :
v.                                          :
                                            :
Nationwide Property and Casualty Insurance :
Company                                    :
One Nationwide Plaza                       :
Columbus, OH 43215                         :
                            Defendant       :

                                             COMPLAINT

                                               PARTIES

        1.      Plaintiff, Angel Nazario (“Plaintiff”), is a resident of the Commonwealth of

Pennsylvania, residing at the address listed in the caption of this Complaint.

        2.      Defendant, Nationwide Property and Casualty Insurance Company (“Defendant”

or “Nationwide”), was at all times material hereto, an insurance company incorporated in the State

of Ohio, with a principal place of business at the address listed in the caption of this Complaint.

        3.      At all relevant times, Defendant was engaged in the practice of providing

automobile insurance policies, including, but not limited to, motor vehicle liability policies. These

policies occasionally provide underinsured (UIM) and uninsured (UM) motorist coverage.

        4.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial

by jury in this action of all issues so triable.

                                   JURISDICTION AND VENUE

        5.      This Court has diversity jurisdiction over the parties and subject matter in this civil

action because Plaintiff is a citizen of Pennsylvania, Defendant is a corporate citizen of Ohio, and

the amount in controversy in this case, exclusive of interest and costs, exceeds the sum of $75,000.
            Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 5 of 14




       6.       Venue is proper in the United States District Court for the Eastern District of

Pennsylvania pursuant to 28 U.S.C. § 1391(b) (1) and (2), in that a substantial part of the events

or omissions giving rise to the claims asserted in this Complaint occurred in this judicial district,

including Defendant’s issuance of an insurance policy providing the UIM benefits disputed herein.

       7.       More specifically, this matter involves a dispute over UIM benefits applicable to

Plaintiff under a policy of insurance issued by Defendant to Plaintiff in Reading, Berks County,

Pennsylvania, which is located in this judicial district.

                                                FACTS

       8.       On or about February 16, 2020, at approximately 6:00 p.m., Plaintiff was the owner

and operator of a motor vehicle proceeding on North Front Street, in Reading, PA, proceeding

straight through a green light controlling the intersection with Windsor Street.

       9.       At the same date and time, Yajarlyn Maria-Reyes (the “tortfeasor”), was the owner

and operator of a motor vehicle proceeding on Windsor Street, approaching the same intersection.

       10.      Despite having a red light requiring her to stop, the tortfeasor disregarded and

disobeyed the red light and plowed straight through the intersection, crashing into Plaintiff’s

vehicle.

       11.      This collision was not the result of any action or failure to act by Plaintiff.

       12.      Rather, the negligence or carelessness of the tortfeasor was the sole proximate cause

of the red light crash, and of the resulting injuries and damages sustained by Plaintiff, and it

consisted of, but was not limited to, the following:

             a. Striking Plaintiff’s vehicle after running a red traffic signal;

             b. Failing to exercise ordinary care to avoid the subject red light crash;

             c. Operating their vehicle without regard for the rights or safety of Plaintiff or the
                general motoring public, and in such a manner as to cause the subject red light
                crash;

                                                   2
          Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 6 of 14




             d. Failing to keep a proper lookout for approaching vehicular traffic before and while
                running through a red traffic signal;

             e. Failing to adequately, sufficiently, and properly clear traffic to ensure it was safe to
                proceed before and while running through a red traffic signal;

             f. Failing to yield the right of way to vehicular traffic proceeding through a green
                traffic signal;

             g. Failing to maintain proper distance between vehicles;

             h. Failing to have their vehicle under proper and adequate control;

             i. Operating their vehicle at a rate of speed that was dangerous and excessive under
                the circumstances;

             j. Violating the “assured clear distance ahead” rule;

             k. Driving Failure to apply their brakes earlier to stop their vehicle to avoid the subject
                red light crash;

             l. Being inattentive to their duties as a driver;

             m. Failing to remain continually alert while operating said vehicle;

             n. Disregarding applicable traffic lanes, patterns, and devices;

             o. Failing to perceive the highly apparent danger to the motoring public, specifically
                including Plaintiff, which their actions and/or inactions posed;;

             p. Failing to be highly vigilant and maintain sufficient control of said vehicle and to
                bring it to a stop on the shortest possible notice;

             q. Operating said vehicle with disregard for the rights of Plaintiff, even though they
                were aware or should have been aware of the presence of Plaintiff and the threat of
                harm posed to him/her;

             r. Continuing to operate their vehicle in a direction towards Plaintiff’s vehicle when
                they saw, or in the exercise of reasonable diligence, should have seen, that further
                operation in that direction would result in a crash; and

             s. Failing to operate said package delivery van in compliance with applicable state
                and local laws and ordinances pertaining to the operation and control of motor
                vehicle including violations of Pennsylvania Motor Vehicle Code Sections 3111,
                3112, 3310, 3361, 3714 and/or 3736.

       13.      As a direct and proximate result of the negligent and/or careless conduct of the

tortfeasor, Plaintiff suffered various serious and permanent personal injuries, serious impairment

                                                   3
          Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 7 of 14




of bodily function and/or permanent serious disfigurement and/or aggravation of pre-existing

conditions, including injuries to his left knee and left upper arm/shoulder, and lumbar/cervical

strains/sprains, all to Plaintiff’s great loss and detriment.

        14.     As a direct and proximate result of these injuries, all of which are permanent in

nature and to Plaintiff’s great financial detriment and loss, Plaintiff has in the past suffered, is

presently suffering, and will in the future suffer great pain, anguish, sickness and agony.

        15.     As an additional direct and proximate result of the carelessness and/or negligence

of the tortfeasor, along with the physical injuries suffered, Plaintiff has in the past suffered, is

presently suffering, and will in the future suffer emotional injuries.

        16.     As a direct and proximate result of the negligent and/or careless conduct of the

tortfeasor, Plaintiff suffered damage to Plaintiff’s personal property, including the motor vehicle

which Plaintiff was operating at the time of the aforesaid motor vehicle collision, including but

not limited to, storage fees and towing, all to Plaintiff’s great loss and detriment.

        17.     As a further direct and proximate result of Plaintiff’s injuries, Plaintiff has in the

past suffered, is presently suffering, and may in the future suffer a great loss of earnings and/or

earning capacity, all to Plaintiff’s further loss and detriment.

        18.     At the date and time of the subject crash, Plaintiff’s vehicle was covered by a policy

of insurance issued by Defendant under Policy Number 5837E967625 (the “Policy”), a copy of

which is attached as Ex. C. The Policy included coverage for underinsured motorist (“UIM”)

coverage, applicable to Plaintiff, with limits of Fifty Thousand Dollars ($50,000.00) per person.

        19.     Plaintiff initiated a lawsuit against the tortfeasor in Berks County on July 18, 2021,

who was also insured by Nationwide with liability policy limits of Fifty Thousand Dollars

($50,000.00) per person.



                                                    4
           Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 8 of 14




        20.      On November 16, 2021, Nationwide tendered the tortfeasor’s Fifty Thousand

Dollars ($50,000.00) policy on November 16, 2021.

        21.      Given that the tortfeasor’s insurance policy with Nationwide was insufficient to

fully and adequately compensate Plaintiff for his injuries, expenses, and damages sustained in the

subject crash, Plaintiff promptly made an initial informal claim upon Defendant for the full Fifty

Thousand Dollar ($50,000.00) UIM benefits available under the Policy, on November 12, 2021,

and promptly provided additional documentation requested by Defendant over the following days.

        22.      On November 23, 2021, Plaintiff promptly made a formal claim upon Defendant

for the full UIM benefits available under the Policy; Plaintiff included with that demand

information and documentation supporting his claim to Defendant, specifically:

              a. Police Crash Report;

              b. June 16, 2020 Diagnostic Health MRI report;

              c. St. Joseph Medical Center, Penn State Health records;

              d. Delaware Valley Chiropractic and Rehabilitation records;

              e. Regional and Spine Pain Care records;

              f. 4/21/2021 Premier Pain Operative Report;

              g. 5/24/2021 Lance Yarus Report; and

              h. 6/29/21 BalaCare Solutions Life Care Plan Report presenting $313,594.00 of future
                 medical bills that plaintiff expects to incur.

        23.      Now, five (5) months after Plaintiff’s demand for the full UIM benefits available

under the Policy, Defendant has not responded to Plaintiff’s formal demand, necessitating the

filing of this action.

                                           COUNT I
                                Underinsured Motorists Coverage

        24.      Plaintiff incorporates by reference herein the allegations set forth in the above


                                                 5
             Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 9 of 14




paragraphs of this Complaint as if set forth herein at length.

         25.    At the time of the subject crash, the tortfeasor’s motor vehicle/liability insurance

policy, with limits of just Fifty Thousand Dollars ($50,000.00), was insufficient to fully and

adequately compensate Plaintiff for the injuries, expenses, and damages sustained in the subject

crash.

         26.    Accordingly, Plaintiff asserts an Underinsured Motorist Claim under the Policy

against Defendant, Nationwide.

         WHEREFORE, Plaintiff, Angel Nazario, demands judgment in Plaintiff’s favor and

against Defendant, Nationwide Property and Casualty Insurance Company, in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court deems

necessary.

                                            COUNT II
                                         Breach of Contract

         27.    Plaintiff incorporates by reference all previous allegations as if fully set forth herein

at length.

         28.    The Policy issued by Defendant was valid and in force at the time of the subject

crash, the policy provided UIM benefits with Fifty Thousand Dollars ($50,000.00), Plaintiff’s

claim for coverage thereunder was timely made, less than one (1) week after resolving his claims

under the tortfeasor’s Nationwide insurance policy.

         29.    By failing to pay the full UIM benefits available under Plaintiff’s Policy, now five (5)

months after the demand was made, Nationwide has failed to comply with the terms of the Policy.

         30.    The Policy issued by Defendant includes an implied covenant of good faith and fair

dealing.

         31.    Defendant has to date failed to comply with the implied covenant of good faith and


                                                   6
          Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 10 of 14




fair dealing of the Policy.

        32.      Defendant breached the expressed and implied terms, provisions, promises and

covenants of the Policy by, inter alia:

              a. engaging in unfair or deceptive acts or practices;

              b. failing to fully, fairly and promptly evaluate Plaintiff’s UIM claim;

              c. failing to offer a fair and reasonable amount of UIM benefits to Plaintiff to fully and
                 fairly compensate him for his loss;

              d. failing to make payment of the Policy coverage limits to Plaintiff;

              e. failing to effectuate a prompt and fair settlement of Plaintiff’s UIM claim;

              f. failing to properly and fairly resolve Plaintiff’s UIM claim;

              g. failing to comply with the terms and provisions of the Policy;

              h. breaching the implied covenant of good faith and fair dealing;

              i. accepting premiums for UIM coverage while, at the same time, refusing to pay a
                 reasonable and fair amount of UIM benefits to Plaintiff in violation of Pennsylvania
                 law;

              j. violating the Unfair Insurance Practices Act, 40 P.S. § 1171.1 et seq.;

              k. acting in a dilatory and obdurate manner in the handling of Plaintiff’s UIM claim;

              l. forcing Plaintiff to incur fees, costs and expenses in pursuing litigation in order to
                 recover UIM benefits;

              m. recklessly, wantonly, and/or willfully disregarding the rights of Plaintiff to recover
                 the coverage limits of the Policy;

              n. elevating its own interests above those of Plaintiff;

              o. breaching the duty of good faith and fair dealing;

              p. breaching the fiduciary duties owed to Plaintiff;

              q. violating the statutes and regulations governing the actions and practices of insurers
                 in Pennsylvania;

              r. violating its own internal policies, procedures, practices and guidelines for the
                 handling of UIM claims; and


                                                    7
         Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 11 of 14




             s. such other acts or omissions as may be developed during discovery.

       33.      Further, it is believed and averred that Defendant breached the expressed and implied

terms, provisions, promises and covenants of the policy of insurance by, inter alia:

             a. Having a pattern and practice of processing and evaluating the claims of Plaintiff,
                and other individuals represented by Simon & Simon, PC, based in whole or in part
                on the fact that Plaintiff was represented by Simon & Simon, PC, without regard to
                the facts, law and merits of individual claims;

             b. Evaluating Plaintiff’s claims based on the fact that he is represented by Simon &
                Simon, PC instead of on the merits of his individual case;

             c. Failing to promptly investigate, process and satisfy Plaintiff’s claims, in whole or
                in part, due to a pattern and practice of handling the claims of individuals
                represented by Simon & Simon, P.C. in a manner inconsistent with the duties of
                good faith and fair dealing;

             d. Failing to reevaluate the value of Plaintiff’s claim after being furnished with
                additional documents and information, and in the absence of any contrary medical
                evidence; and

             e. Failing to make payment under the Policy for frivolous or unfounded reasons.

       34.      As a result of the breach of the expressed and implied terms, provisions, promises

and covenants of the policy by Defendant, Plaintiff has been forced to incur fees, costs and

expenses associated with the litigation of his claims.

       35.      Plaintiff is entitled to recover all direct and consequential damages arising from the

breach of the expressed and implied terms, provisions, promises and covenants of the Policy by

Defendant, including but not limited to:

             a. counsel fees incurred in the instant bad faith litigation;

             b. costs and expenses incurred in the instant bad faith litigation;

             c. interest; and

             d. such other relief as the Court deems appropriate.

       WHEREFORE, Plaintiff, Angel Nazario, demands judgment in Plaintiff’s favor and



                                                   8
             Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 12 of 14




against Defendant, Nationwide Property and Casualty Insurance Company, in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court deems

necessary.

                                              COUNT III
                                               Bad Faith

        36.      Plaintiff incorporates by reference all previous allegations as if fully set forth herein

at length.

        37.      The Pennsylvania Bad Faith Statute, 42 Pa.C.S.A. § 8371, provides:

                     In an action arising under an insurer policy, if the court finds that
                 the insurer has acted in bad faith toward the insured, the court may
                 take all of the following actions:

                     (1) Award interest on the amount of the claim from the date
                         the claim was made by the insured in an amount equal to
                         the prime rate of interest plus 3%.

                     (2) Award punitive damages against the insurer.

                     (3) Assess court costs and attorneys fees against the insurer.

42 Pa.C.S.A. § 8371.

        38.      Plaintiff’s UIM claim constitutes an action arising under an insurance policy.

        39.      Defendant acted in bad faith and in violation of 42 Pa.C.S.A. § 8371 in failing to make

payment of a fair and reasonable amount of UIM benefits to Plaintiff by, inter alia:

              a. engaging in unfair or deceptive acts or practices;

              b. failing to fully, fairly and promptly evaluate Plaintiff’s UIM claim;

              c. failing to offer a fair and reasonable amount of UIM benefits to Plaintiff to fully and
                 fairly compensate him for his loss;

              d. failing to make any offer of UIM benefits to Plaintiff;

              e. failing to make payment of the Policy coverage limits to Plaintiff;

              f. failing to effectuate a prompt and fair settlement of Plaintiff’s UIM claim;


                                                    9
         Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 13 of 14




             g. failing to properly and fairly resolve Plaintiff’s UIM claim;

             h. failing to comply with the terms and provisions of the Policy;

             i. breaching the implied covenant of good faith and fair dealing;

             j. accepting premiums for UIM coverage while, at the same time, refusing to pay a
                reasonable and fair amount of UIM benefits to Plaintiff in violation of Pennsylvania
                law;

             k. violating the Unfair Insurance Practices Act, 40 P.S. § 1171.1 et seq.;

             l. acting in a dilatory and obdurate manner in the handling of Plaintiff’s UIM claim;

             m. forcing Plaintiff to incur fees, costs and expenses in pursuing litigation in order to
                recover UIM benefits;

             n. recklessly, wantonly, and/or willfully disregarding the rights of Plaintiff to recover
                the coverage limits of the Policy;

             o. elevating its own interests above those of Plaintiff;

             p. breaching the duty of good faith and fair dealing;

             q. breaching the fiduciary duties owed to Plaintiff;

             r. violating the statutes and regulations governing the actions and practices of insurers
                in Pennsylvania;

             s. violating its own internal policies, procedures, practices and guidelines for the
                handling of UIM claims; and

             t. such other acts or omissions as may be developed during discovery.

       40.      Further, it is believed and averred that Defendant breached the expressed and implied

terms, provisions, promises and covenants of the policy of insurance by, inter alia:

             a. Having a pattern and practice of processing and evaluating the claims of Plaintiff,
                and other individuals represented by Simon & Simon, PC, based in whole or in part
                on the fact that Plaintiff was represented by Simon & Simon, PC, without regard to
                the facts, law and merits of individual claims;

             b. Evaluating Plaintiff’s claims based on the fact that he is represented by Simon &
                Simon, PC instead of on the merits of her individual case;

             c. Failing to promptly investigate, process and satisfy Plaintiff’s claims, in whole or
                in part, due to a pattern and practice of handling the claims of individuals


                                                  10
         Case 5:22-cv-01598-JFL Document 1 Filed 04/25/22 Page 14 of 14




                represented by Simon & Simon, P.C. in a manner inconsistent with the duties of
                good faith and fair dealing;

             d. Failing to reevaluate the value of Plaintiff’s claim after being furnished with
                additional documents and information, and in the absence of any contrary medical
                evidence; and

             e. Failing to make payment under the Policy for frivolous or unfounded reasons.

       41.      Defendant is liable for payment of interest, fees, costs and punitive damages to

Plaintiff for the bad faith conduct in handling and adjusting his UIM claim.

       42.      Defendant is liable for payment of all actual damages and consequential damages

to Plaintiff for the wanton, willful and reckless bad faith conduct in handling and refusing to fairly

adjust, evaluate and settle Plaintiff’s UIM claim.

       43.      Defendant recklessly, wantonly, and/or willfully disregarded Plaintiff’s rights,

forcing him to proceed with litigation in order to recover UIM benefits under the Policy, being

fully aware that the UIM claim had a value in excess of the available coverage limits.

       44.      Plaintiff, is entitled to recover counsel fees and costs from Defendant that he has

incurred in bringing and prosecuting the instant litigation.

       WHEREFORE, Plaintiff, Angel Nazario, demands judgment in Plaintiff’s favor and

against Defendant, Nationwide Property and Casualty Insurance Company, in an amount in excess

of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court deems

necessary.

                                       SIMON & SIMON, P.C.

                               BY:
                                       Marc I. Simon, Esquire
                                       Roman T. Galas, Esquire




                                                 11
